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REWSED(05”°1€<318€2:02-cr-20368-BBD Docu me nt t16 Filed 07/05/05 WPa[qelofB Page|D 16
UN TDE STA ATES DISTRICTC

 

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WESTERN DISTRICT OF TENNESSEE
wEsTERN DIVISION 05 JUL -5 AH 9= 57
U.S.A. vs. Smith.. Amanda Docket No. Z:OZCMOSMHQB]M 691 tm
CLERK U.S Y"F _E_CT COURT
Petition on Probation and Supervised Release W,!D C'r i:‘ iPHlS

C()MES NOW Gerald Hunt PROBATION OFFICER OF THE COURT presenting an official
report upon the conduct and attitude of Arnanda Smith Who Was placed on supervision by the I-Ionorable Bernice
Donald sitting in the court at Memphis, TN on the lOth day of JanuU , 2003 Who fixed the period of
supervision at two 121 years* , and imposed the general terms and conditions theretofore adopted by the court and
also imposed special conditions and terms as follows:

l. The defendant shall participate in a drug treatment/testing program as directed by the Probation Office.

2. The defendant shall obtain and maintain full-time employment

*Supervised Release began on February 19, 2004.

RESPECTFULLY PRESENTING PE'I`ITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

(If short insert here; if lengthy write an separate sheet end attach)

SEE AT'I`ACHED

PRAYING THAT THE COURT WILL ORDER a Summons be issued for Amanda Srnith to appear before the
United States District Court to answer charges of violation of Supervised Release.

 

ORDER OF COURT I declare under penalty of perjury that the
foregoing is true and correct.
Considered and ordered 1 `§Z f day Executed
of , Z(Q_§_ and ordered on -3\) \M` ;l al \ ,}Ob\'
filed m e a part of the records in
the above case. m \-QJ-P~C\Q W

 

U. S. Probation Officer

Un` ed States Dist:rict Judge Place: Memphis. TN /""`

Thle documententered onth docket l co ' nce/__-
with Flule 55 and/cr 32(b) FRCrP on

CaSe 2:02-cr-20368-BBD '
RE: Amanda Smith Document 16 Fl|ed 07/05/05 Page 2 of 5 PagelD 17

Docket Number: 2:02CR20368-01
Page 2
RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLL()WS:
The defendant has violated the following conditions of her Supervised Release:
The defendant shall participate in drug treatment/testing as directed by Probation Officer.
On February 19, 2004, Ms. Smith was referred to Professional Counseling Center for drug treatment/testing
Ms. Smith failed to attend drug counseling on eleven (l l) occasions from November l, 2004 to May 26, 2005.

Ms. Smith failed to submit drug screens on eleven (1 l) occasions from Novernber l, 2004 to May 26, 2005.

On May 26, 2005, Ms. Smith was discharged from Professional Counseling Center due to continuous non»
compliance with treatment

l.
2.
3.
4

Case 2:OZ-cr-203\6FO|?A%%IB§WBBI(§]6_IEELB€G 07/05/05 Page 3 of 5 Page|D 18

Defendant Amanda Smith, 4209 Curve Nankipo Rd., Ripley, TN 38063

 

 

 

Docket Number (Year-Sequence-Defendant No.) 2:02CR20368-0]
District/Ofi'lce Western District of Tennessee (Memphis)
Original Sentence Ol )’10______ l 2003

Date month day year

(lf different than above);

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5. Original District/Ofiice
6. Original Docket Number (Year-Sequence-Del'endant No.)
7. List each violation and determine the applicable grade w §7Bl.]}:
Violation(s! Grade
Failure to participate in drug treatment/testing C
o
8. Most Serious Grade of Vioiation (B §'IBl.l(b)) C
9. Crirninal History Category (§_r_:§ §?Bl.4(a))74 ll
10. Range of imprisonment (@ §'i'B 1 .4(a)) 4 -lO months
*Being originally convicted of a Class C Felony, the statutory maximum term of imprisonment is two (2) years; 18 U.S.C.
§3583(e)(3).
ll. Sentencing Options for Grade B and C Violations Only (Check the appropriate box):

{X} (a)lf the minimum term of imprisonment determined under §7Bl .4 (Term of Imprisonment) is at least one month but not
more than six months, §7Bl.3(c)(l) provides sentencing options to imprisonment.

{ } (b)lf the minimum term of imprisonment determined under §7Bl .4 (Term of Imprisonment) is more than six months but
not more than ten months, §7Bl .3(c)(2) provides sentencing options to imprisonment

{ } (c)l f the minimum term of imprisonment determined under §7Bl .4 (Term of Imprisonment) is more than ten months, no

sentencing options to imprisomnent are available.

Mail documents to: United States Sentcncing Commission, 1331 Pennsylvania Aveoue, N.W
Suite 1400, Washington, D.C., 20004, Attention: Monitoring Unit

12.

14.

15.

DefENMtZZOZ-BMSSBiBBD DOCUm€n'[ 16 Fi|Pd O7/O'~')/O'-') Pagp A. rif 5 Pa_ge|D 19
Unsatisfied Conditions of Original Sentence

L.ist any restitution, iine, community confinement, home detention, or intermittent confinement previously imposed in connection
with the sentence for which revocation is ordered that remains unpaid or unserved at the time of revocation {§§e_ §7Bl .3(d)}:

 

 

 

 

Restitution ($) N/A Community Confinement NfA
Fine ($) N/'A Home Detention N/A
Other N/A Intermittent Conf`mement N/A

 

Supervised Release

lf probation is to be revoked, determine the length, if any, of the term of supervised release according to the provisions of §§SD l . l -
l-3{B §§7131-3(§)(1)}-

Term: to years
lf supervised release is revoked and the term of imprisonment imposed is less than the maximum term of imprisonment impossible
upon revocation, the defendant may, to the extent permitted by law, be ordered to recommence supervised release upon release
from imprisonment {§_¢Le 18 U.S.C. §3583(e) and §7Bl.3(g)(2)}.
Period of supervised release to be served following release from imprisonment

Departure

l_,ist aggravating and mitigating factors that may warrant a sentence outside the applicable range of imprisonment

 

 

 

 

 

 

 

 

 

 

 

Official Detention Adjustment {§e_e §7Bl.3(e)}; months days

Mail documents to: United States Sentencing Commission, 1331 Pennsylvania Avenue, N.W.
Suite 1400, Washington, D.C., 20004, Attention: Monitoring Unit`

l isTlC COURT - WE"RNT DISRTCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 2:02-CR-20368 Was distributed by faX, mail, or direct printing on
.luly 6, 2005 to the parties listed.

 

 

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

